Case 5:12-cV-00055-.]LH Document 1 Filed 02/06/12 Page 1 of F|LED

U.S. D|STRICT COURT
EASTERN DISTR!CT ARKANSAS

FEB 0 6 2012

IN THE UNlTED STATES DISTRICT COURT JAMES _R ACKl CLERK
FOR THE EASTERN DISTRICT OF ARKANSASBy:
PINE BLUFF DIVISION DEP CLERK

ALFRED L. BROWN, SR. PLAINTIFF
vs. Case No. 5/£' a V" HMUL/j

UNION PACIFIC RAILROAD

COMPANY, DEFENDANT

Serve Union Pacific Railroad Company

Via its registered agent for service of process:
THE CORPORATION COMPANY

124 WEST CAPITOL AVENUE

SUITE 1900

LITTLE R()CK, AR 72201

 
   

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ORIGINAL COMPLAINT AND REOUEST FOR JURY TRIAL

Comes now the plaintiff, Alfred L. BroWn, Sr., by and through his attorneys of record,
the Lauck Law Firm P.A. and the LaW Offices of H. Chris Christy, P.A., and for his complaint

against the defendant, Union Paciflc Railroad Company, hereby alleges, avers and states the

 

following:
FIRST CLAIM FOR RELIEF
45 U.S.C. §§51 - 60
FEDERAL EMPLOYERS’ LIABILITY ACT
l. This is an action arising under the provisions of the Federal Employers' Liability

Act (“FELA”), 45 U.S.C.A. §§ 51 et seq., to recover damages for personal injuries sustained by
the plaintiff While performing his job duties for the defendant in the City of Pine Bluff, Jefferson
County, Arkansas, as Well as, job duties in other locations for the defendant

2. Plaintiff, Alfred L. Brown, Sr., is now, and at all times mentioned in this

complaint Was, a resident of the City of Lonoke, Lonoke County, Arkansas.

 

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3. Defendant, Union Paciflc Railroad Company (hereinafter referred to as “UPRR”),
is noW, and at all times mentioned in this complaint Was, a Deleware corporation engaged in the
business and operation of the freight transportation and as a common carrier by railroad in
Arkansas and other states With its principle offices in Omaha, Nebraska.

4. Jurisdiction and venue are vested in this honorable court by virtue of the FELA,
45 U.S.C. §56.

5. Plaintiff, Alfred L. Brown, began his employment With the defendant, from 1978
until approximately 1987. He returned to Work for the defendant in 1996 and is still employed
by the defendant to this date.

6. The plaintiff began Working for the defendant as a Switchman, then became a
Conductor, and then became a Locomotive Engineer.

7. In 2010, the plaintiff began to experience symptoms of permanent back pain that
lead him to discover underlying injuries that developed over time until they culminated into
severe and permanent pain and injury.

8. As a result, in Whole or in part, of unsafe Working conditions, the plaintiff
suffered injuries to his back and spine, all of Which are or may be of a permanent nature.

9. At all relevant times, the defendant Was a common carrier of freight for hire by
rail, and Was engaged in interstate commerce

lO. At all relevant times, the plaintiff and the defendant Were engaged in interstate
commerce or in activities that substantially affected and Were in furtherance of interstate

commerce. The plaintiffs injuries arose in the course of Plaintift’ s employment with defendant

 

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ll. During the plaintiffs employment with the defendant, the plaintiff performed his
duties pursuant to the instructions of his supervisor and with the locomotives, equipment, tools
and machinery that he Was provided by the defendant

12. The defendant, Union Pacifrc Railroad Company, had the duty, among others, to
exercise ordinary care to provide its employees with a reasonably safe place to Work, in among
other things:

(a) the duty to provide the plaintiff with reasonably safe and suitable equipment, tools
and machinery with Which to perform his duties;

(b) the duty to inspect, maintain and repair its equipment, tools and machinery with
which its employees, including the plaintiff, Were required to work;

(c) the duty to provide reasonably safe methods and procedures for the performance
of duties to which its employees, including the plaintiff, were assigned;

(d) the duty to provide its employees with seats in the locomotives that provide
adequate support, adequate ergonomic positioning and protections against the effect of vibration,
lateral motion, and shock;

(e) the duty to inspect, maintain, repair and/or replace the locomotives and the seats
on the locomotives on which the plaintiff was required to work;

(t) the duty to provide seats that are securely mounted in the locomotive;

(g) the duty to investigate the risks attendant to an employee working in a seated
posture when the body is subjected to whole-body vibration, shock and repetitive twisting and

turning of the head and neck;

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(h) the duty to educate, train, and warn its employees, including the plaintiff, of the
risks attendant to working in a seated position when the body is subject to whole-body vibration,
shock and repetitive twisting and turning of the head and neck;

(i) the duty to comply with the defendant’s engineering standards regarding
construction, inspection, maintenance, and repair of its track and roadbed;

(j) the duty to comply with 49 U.S.C. §20701;

(k) the duty to comply with 49 C.F.R. Chapter II, FRA, DOT §213;

(l) the duty to comply with 49 C.F.R. Chapter II, FRA, DOT §229.119;

(m) the duty to comply with 49 C.F.R. Chapter II, FRA, DOT §229.7(a)(l)(2);

(n) the duty to comply with 49 C.F.R. Chapter II, FRA, DOT §229.21

(o) the duty to comply with 49 C.F.R. Chapter Il, FRA, DOT §229.45; and

(p) the duty to investigate and implement an ergonomics program, job safety analysis,
and/or medical monitoring program, all to the end of identifying ergonomic risk factors in the
workplace, eliminating the ergonomic risk factors, and training its employees, including the
plaintiff, to recognize ergonomic risk factors and guard against them.

l3. The defendant, through its agents, servants and employees other than the plaintiff,
negligently failed to perform the above-said duties, as a result of which the plaintiff Was caused,
in whole or in part, to suffer injuries to his back and spine, pain, mental anguish/injury.

l4. The plaintiffs injuries have been painful, disabling and incapacitating, and for an
indefinite time in the future will be painful, disabling and incapacitating, and have and will in the
future cause the plaintiff mental and physical pain and suffering

15. The plaintiffs injuries hereinabove enumerated have impaired the plaintiffs

ability to enjoy life, and will impair in the future the plaintiffs ability to enjoy life.

 

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16. The plaintiffs unsafe working conditions and resulting injuries and damages were
caused in whole or in part by the negligence of the defendant through its agents, assigns and
employees acting within the scope of their employment and authority.

17. The injuries sustained by the plaintiff were also caused, in whole or in part, by the
negligence of the defendant in one or more of the following particulars:

(a) the defendant failed to furnish the plaintiff with a reasonably safe place in which
to work;

(b) the defendant failed to furnish the plaintiff with reasonably safe equipment with
which to perform his assigned duties;

(c) the defendant failed to furnish plaintiff with reasonably necessary and proper
equipment with which to perform his assigned duties;

(d) the defendant failed to furnish the plaintiff with reasonably necessary and proper
personal protective equipment;

(e) the defendant failed to furnish the plaintiff With necessary and proper supervision
in the performance of his assigned duties;

(f) the defendant failed to warn the plaintiff of reasonably foreseeable hazardous
conditions existing with the defendant’s equipment;

(g) the defendant allowed unsafe practices to become the standard practice;

(h) the defendant assigned the plaintiff work which the defendant knew or, in the
exercise of reasonable care, should have known would result in injury to the
plaintiff;

(i) the defendant assigned the plaintiff duties which the defendant knew or should
have known were beyond his physical capacity or would aggravate prior injuries
or would otherwise cause injury to the plaintiff; and

(j) the defendant’s supervisor ignored the safety concerns voiced by the plaintiff and
failed to recognize safety hazards that he knew or should have known would
result in injury to the plaintiff if he directed him to perform the job in the manner .
that he did.

(k) the defendant’s required the plaintiff to throw switches in the Pine Bluff railyard,
and others, that it knew or should have known were improperly maintained,
improperly inspected, hard to throw, unsafe, susceptible to recoil when being

 

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thrown and/or were old, antiquated ground (a.k.a “ball and hammer”) switches
that required the plaintiff to assume ergonomically unsafe positions below the
knees in order to align switches in contradiction;

(l) the defendant failed to comply with 45 C.F.R. §§213.135, 213.233, 213.235, and
213.241.

18. As a result of the injuries sustained by the plaintiff, he has been caused to undergo
medical treatment to the aforementioned parts of his body.

l9. Plaintiff further states that prior to the culmination of these injuries, he was an
able-bodied man, capable of performing heavy, strenuous manual labor and had been doing so
while working for the defendant In the event the plaintiff did have any infirmities to the
aforementioned parts of his body of which he was not aware, the plaintiff claims that said
condition was aggravated, activated and accelerated by the trauma to which the plaintiff was
exposed on the defendant’s property.

20. By reason of the facts stated in this complaint and the injuries caused to the
plaintiff, the plaintiff was forced to and did incur medical bills and indebtedness for the services
of duly-licensed physicians, surgeons and mental health professionals, and for medicines,
radiological fllming, and hospitalization in a sum as yet unascertainable The plaintiff is
informed and believes and therefore alleges that he Will require further medical attention as a
result of said injuries.

21. By reason of the facts hereinabove stated and the injuries caused to the plaintiff,
the plaintiff will incur further bills and indebtedness for medical attention

22. By reason of the facts hereinbefore stated and the injuries caused the plaintiff
thereby, the plaintiff has sustained loss of wages and loss of fringe benefits in the past, and will

in the hiture sustain loss of wages, impairment of earning capacity, and loss of fringe benefits, all

to his damage, in an amount as yet unascertainable The plaintiff further states that his ability to

 

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work in labor in the future has been diminished In this regard, the plaintiff would show that he
has suffered a decrease in his past and future wage earning capacity. The plaintiff also states that
he will sustain medical expenses in the future. The plaintiff also seeks compensation for his
pain, suffering and mental anguish.

WHEREFORE, the plaintiff prays judgment against the defendant in an amount sufficient
to compensate him for his general damages, together with such special damages as may
hereinafter be ascertained, and for his costs of suit incurred herein, expert witness fees, and
whatever other relief this honorable Court deems just and proper.

SECOND CLAIM FOR RELIEF
49 U.S.C. § 20701
FEDERAL LOCOMOTIVE INSPECTION ACT
23. The plaintiff incorporates herein paragraphs l through 22
24. 49 U.S.C. § 20701 states:
"Requirement for use
"A railroad carrier may use or allow to be used a locomotive or
tender on its railroad line only when the locomotive or tender and
its parts and appurtenances--
(l) are in proper condition and safe to operate without
unnecessary danger of personal injury;
(2) have been inspected as required under this chapter
[49 USC §§ 20701 et seq.] and regulations prescribed by
the Secretary of Transportation under this chapter

[49 USC §§ 20701 et seq.]; and

 

 

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(3) can withstand every test prescribed by the Secretary
under this chapter [49 USC§§ 20701 et seq.].
(July 5,1994, P.L. 103-272. §l (e). 108 Stat. 885.) --

25. At the time herein mentioned, the defendant failed to comply with the statutory
non-delegable requirements of 49 U.S.C. § 20701, causing the plaintiff the injuries hereinabove
enumerated

WHEREFORE, the plaintiff prays judgment against Defendant in an amount sufficient to
compensate him for his general damages, together with such special damages as may hereinafter
be ascertained, and for his costs of suit incurred herein, expert witness fees, and whatever other
relief this honorable Court deems just and proper.

THIRD CLAIM FOR RELIEF
49 (C.F.R. Chapter ll (10-1-2002 Edition and prior editions)
FEDERAL RAILROAD ADMINISTRATION, DOT
Part 229. RAILROAD LOCOMOTIVE SAFETY STANDARDS

26. The plaintiff incorporates herein Paragraphs l through 25.

27. 49 C.F.R. Chapter ll (10-1-02 Edition and prior editions). FEDERAL
RAILROAD ADMINISTRATION, DOT. Part 229 RAILROAD LOCOMOTlVE SAFETY
STANDARDS prescribes minimum federal safety standards for all locomotives.

Section 229.7 Prohibited acts, states:

--(a) The Locomotive Inspection Act (45 U.S.C. 22-34) makes
it unlawful for any carrier to use of permit to he used on its line any
locomotive unless the entire locomotive and it appurtenances ~

(l) Are in proper condition and safe to operate in the service to

which they are put, without unnecessary peril to life or limb; and

(2) Have been inspected and tested as required by this part,"

 

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Section 229.45 General condition, states:

--All systems and components on a locomotive shall be free of
conditions that endanger the safety of the crew. ..
These condition include: insecure attachment of components. .. that
create a personal injury hazard; improper functioning of components ..."

Section 229.119 Cabs, floors, and passageways, states:

"(a) Cab scats shall be securely mounted and braced."

28. At the time herein mentioned, the defendant failed to comply with the statutory
non-delegable requirements of 49 C.F.R. Chapter ll (10-1-02 Edition). FEDERAL RAILROAD
ADMINISTRATION. DOT. §229 ~ RAILROAD LOCOMOTIVE SAFETY STANDARDS,
which caused or contributed to the plaintiff s injuries hereinabove enumerated

WHEREFORE, the plaintiff prays judgment against Defendant in an amount sufficient to
compensate him for his general damages, together with such special damages as may hereinafter
be ascertained, and for his costs of suit incurred herein, expert witness fees, and whatever other
relief this honorable Court deems just and proper.

FOURTH CLAIM FOR RELIEF
49 C.F.R. Chapter ll (10-1-2002 Edition)
FEDERAL RAILROAD ADMINISTRATION, DOT
Part 213, TRACK SAFETY STANDARDS

29. The plaintiff incorporates herein paragraphs l through 28.

30. 49 C.F.R. Chapter lI, FEDERAL RAILROAD ADMlNISTRATION, DOT. Part
213 TRACK SAFETY STANDARDS, prescribes minimum federal safety requirements for

railroad track that is part of the general railroad system of transportation

Section 213.1 Scope of part, states:

 

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Telephone: (501)7 5 8-0278
Facsimile: (501)758-0480

ATTORNEYS FOR ALFRED L. BROWN, SR.

Plaintiff s address:
85 Ross Dr.
Lonoke, AR 72086

 

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. . STR|CT COURT
EASTERN DlSTR|CT ARKANSAS

FEB 06 2012

lN THE UNITED STATES DISTRICT COURT JAMES R ACK' CLERK
FOR THE EASTERN DISTRICT OF ARKANSASBy;
PINE BLUFF DlVlSlON DEF’ CLERK

ALFRED L. BROWN, SR. PLAINTIFF
vs. Case No. 5[§' 6 V' ja`§j:jL/%

UNION PAClFlC RAILROAD
COMPANY, DEFENDANT

Serve Union Pacific Railroad Company

Via its registered agent for service of process: . . _ wl
THE CORPORATION COMPANY ' ~f»" ' ,r,. w ramey

124 WEST CAPITOL AVENUE
SUlTE 1900
LlTTLE ROCK, AR 72201

  

ORIGINAL COMPLAINT AND REOUEST FOR JURY TRIAL

Comes now the plaintiff, Alfred L. Brown, Sr., by and through his attorneys of record,
the Lauck Law Firm P.A. and the Law Offices of H. Chris Christy, P.A., and for his complaint

against the defendant, Union Pacific Railroad Company, hereby alleges, avers and states the

 

following:
FIRST CLAIM FOR RELIEF
45 U.S.C. §§51 ~ 60
FEDERAL EMPLOYERS’ LlABILITY ACT
1. This is an action arising under the provisions of the Federal Employers' Liability

Act (“FELA”), 45 U.S.C.A. §§ 51 et seq., to recover damages for personal injuries sustained by
the plaintiff while performing his job duties for the defendant in the City of Pine Bluff, Jefferson
County, Arkansas, as well as, job duties in other locations for the defendant

2. Plaintiff, Alfred L. Brown, Sr., is now, and at all times mentioned in this

complaint was, a resident of the City of Lonoke, Lonoke County, Arkansas.

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3. Defendant, Union Pacific Railroad Company (hereinafter referred to as “UPRR”),
is now, and at all times mentioned in this complaint was, a Deleware corporation engaged in the
business and operation of the freight transportation and as a common carrier by railroad in
Arkansas and other states with its principle offices in Omaha, Nebraska.

4. Jurisdiction and venue are vested in this honorable court by virtue of the FELA,
45 U.S.C. §56.

5. Plaintiff, Alfred L. Brown, began his employment with the defendant, from 1978
until approximately 1987. He returned to work for the defendant in 1996 and is still employed
by the defendant to this date.

6. The plaintiff began working for the defendant as a Switchman, then became a
Conductor, and then became a Locomotive Engineer.

7. ln 2010, the plaintiff began to experience symptoms of permanent back pain that
lead him to discover underlying injuries that developed over time until they culminated into
severe and permanent pain and injury.

8. As a result, in whole or in part, of unsafe working conditions, the plaintiff
suffered injuries to his back and spine, all of which are or may be of a permanent nature

9. At all relevant times, the defendant was a common carrier of freight for hire by
rail, and was engaged in interstate commerce

10. At all relevant times, the plaintiff and the defendant were engaged in interstate

commerce or in activities that substantially affected and were in furtherance of interstate

commerce The plaintiff s injuries arose in the course of Plaintiff s employment with defendant,

 

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11. During the plaintiff s employment with the defendant, the plaintiff performed his
duties pursuant to the instructions of his supervisor and with the locomotives, equipment, tools
and machinery that he was provided by the defendant

12. The defendant, Union Pacific Railroad Company, had the duty, among others, to
exercise ordinary care to provide its employees with a reasonably safe place to work, in among
other things:

(a) the duty to provide the plaintiff with reasonably safe and suitable equipment, tools
and machinery with which to perform his duties;

(b) the duty to inspect, maintain and repair its equipment, tools and machinery with
which its employees, including the plaintiff, were required to Work;

(c) the duty to provide reasonably safe methods and procedures for the performance
of duties to which its employees, including the plaintiff, were assigned;

(d) the duty to provide its employees with seats in the locomotives that provide
adequate support, adequate ergonomic positioning and protections against the effect of vibration,
lateral motion, and shock;

(e) the duty to inspect, maintain, repair and/or replace the locomotives and the seats
on the locomotives on which the plaintiff Was required to work;

(f) the duty to provide seats that are securely mounted in the locomotive;

(g) the duty to investigate the risks attendant to an employee working in a seated

posture when the body is subjected to whole-body vibration, shock and repetitive twisting and

turning of the head and neck;

 

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(h) the duty to educate, train, and warn its employees, including the plaintiff, of the
risks attendant to working in a seated position when the body is subject to whole-body vibration,
shock and repetitive twisting and turning of the head and neck;

(i) the duty to comply with the defendant’s engineering standards regarding
construction, inspection, maintenance and repair of its track and roadbed;

(i) the duty to comply with 49 U.S.C. §20701;

(k) the duty to comply with 49 C.F.R. Chapter ll, FRA, DOT §213;

(l) the duty to comply with 49 C.F.R. Chapter ll, FRA, DOT §229.119;

(m) the duty to comply with 49 C.F.R. Chapter ll, FRA, DOT §229.7(a)(1)(2);

(n) the duty to comply With 49 C.F.R. Chapter ll, FRA, DOT §229.21

(o) the duty to comply with 49 C.F.R. Chapter ll, FRA, DOT §229.45; and

(p) the duty to investigate and implement an ergonomics program, job safety analysis,
and/or medical monitoring pro gram, all to the end of identifying ergonomic risk factors in the
workplace, eliminating the ergonomic risk factors, and training its employees, including the
plaintiff, to recognize ergonomic risk factors and guard against them.

13. The defendant, through its agents, servants and employees other than the plaintiff,
negligently failed to perform the above-said duties, as a result of which the plaintiff was caused,
in whole or in part, to suffer injuries to his back and spine, pain, mental anguish/injury.

14. The plaintiffs injuries have been painful, disabling and incapacitating, and for an
indefinite time in the future will be painful, disabling and incapacitating, and have and will in the
future cause the plaintiff mental and physical pain and suffering

15. The plaintiffs injuries hereinabove enumerated have impaired the plaintiff s

ability to enjoy life, and will impair in the future the plaintiff s ability to enjoy life

 

 

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16.

The plaintiffs unsafe working conditions and resulting injuries and damages were

caused in whole or in part by the negligence of the defendant through its agents, assigns and

employees acting within the scope of their employment and authority.

17.

The injuries sustained by the plaintiff were also caused, in whole or in part, by the

negligence of the defendant in one or more of the following particulars:

(a)

(b)

(C)

(d)

(€)

(i)

(g)

(h)

(i)

(i)

(k)

the defendant failed to furnish the plaintiff With a reasonably safe place in which
to work;

the defendant failed to furnish the plaintiff with reasonably safe equipment with
which to perform his assigned duties;

the defendant failed to furnish plaintiff with reasonably necessary and proper
equipment with which to perform his assigned duties;

the defendant failed to furnish the plaintiff with reasonably necessary and proper
personal protective equipment;

the defendant failed to furnish the plaintiff with necessary and proper supervision
in the performance of his assigned duties;

the defendant failed to warn the plaintiff of reasonably foreseeable hazardous
conditions existing with the defendant’s equipment;

the defendant allowed unsafe practices to become the standard practice;

the defendant assigned the plaintiff work which the defendant knew or, in the
exercise of reasonable care, should have known Would result in injury to the
plaintiff;

the defendant assigned the plaintiff duties which the defendant knew or should
have known were beyond his physical capacity or would aggravate prior injuries
or would otherwise cause injury to the plaintiff; and

the defendant’s supervisor ignored the safety concerns voiced by the plaintiff and
failed to recognize safety hazards that he knew or should have known would
result in injury to the plaintiff if he directed him to perform the job in the manner .
that he did.

the defendant’s required the plaintiff to throw switches in the Pine Bluff railyard,
and others, that it knew or should have known were improperly maintained,
improperly inspected, hard to throw, unsafe, susceptible to recoil when being

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thrown and/or were old, antiquated ground (a.k.a “ball and hammer”) switches
that required the plaintiff to assume ergonomically unsafe positions below the
knees in order to align switches. in contradiction;

(l) the defendant failed to comply with 45 C.F.R. §§213.135, 213.233, 213.235, and
213.241.

18. As a result of the injuries sustained by the plaintiff, he has been caused to undergo
medical treatment to the aforementioned parts of his body.

19. Plaintiff further states that prior to the culmination of these injuries, he was an
able-bodied man, capable of performing heavy, strenuous manual labor and had been doing so
while working for the defendant, In the event the plaintiff did have any infirmities to the
aforementioned parts of his body of which he was not aware, the plaintiff claims that said
condition was aggravated, activated and accelerated by the trauma to which the plaintiff was
exposed on the defendant’s property.

20. By reason of the facts stated in this complaint and the injuries caused to the
plaintiff, the plaintiff was forced to and did incur medical bills and indebtedness for the services
of duly-licensed physicians, surgeons and mental health professionals, and for medicines,
radiological filming, and hospitalization in a sum as yet unascertainable The plaintiff is
informed and believes and therefore alleges that he will require further medical attention as a
result of said injuries.

21. By reason of the facts hereinabove stated and the injuries caused to the plaintiff,
the plaintiff will incur further bills and indebtedness for medical attention

22. By reason of the facts hereinbefore stated and the injuries caused the plaintiff
thereby, the plaintiff has sustained loss of wages and loss of fringe benefits in the past, and will

in the future sustain loss of wages, impairment of earning capacity, and loss of fringe benefits, all

to his damage, in an amount as yet unascertainable The plaintiff further states that his ability to

 

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Work in labor in the future has been diminished ln this regard, the plaintiff would show that he
has Suffered a decrease in his past and future wage earning capacity. The plaintiff also states that
he will sustain medical expenses in the future The plaintiff also seeks compensation for his
pain, suffering and mental anguish.

WHEREFORE, the plaintiff prays judgment against the defendant in an amount sufficient
to compensate him for his general damages, together With such special damages as may
hereinafter be ascertained, and for his costs of suit incurred herein, expert witness fees, and
whatever other relief this honorable Court deems just and proper.

SECOND CLAIM FOR RELIEF

 

49 U.S.C. § 20701
FEDERAL LOCOMOTIVE lNSPECTION ACT
23. The plaintiff incorporates herein paragraphs 1 through 22
24. 49 U.S.C. § 20701 states:
"Requirement for use
"A railroad carrier may use or allow to be used a locomotive or
tender on its railroad line only when the locomotive or tender and
its parts and appurtenances--
(l) are in proper condition and safe to operate without
unnecessary danger of personal injury;
(2) have been inspected as required under this chapter
[49 USC §§ 20701 et seq.] and regulations prescribed by

the Secretary of Transportation under this chapter

[49 USC §§ 20701 et seq.]; and

 

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(3) can withstand every test prescribed by the Secretary
under this chapter [49 USC§§ 20701 et seq.].
(July 5,1994, P.L. 103-272. §1 (e). 108 Stat. 885.) “

25. At the time herein mentioned, the defendant failed to comply with the statutory
non-delegable requirements of 49 U.S.C. § 20701, causing the plaintiff the injuries hereinabove
enumerated

WHEREFORE, the plaintiff prays judgment against Defendant in an amount sufficient to
compensate him for his general damages, together with such special damages as may hereinafter
be ascertained, and for his costs of suit incurred herein, expert witness fees, and whatever other
relief this honorable Court deems just and proper.

THIRD CLAIM FOR RELIEF
49 (C.F.R. Chapter ll (10-1-2002 Edition and prior editions)
FEDERAL RAILROAD ADMINISTRATION, DOT
Part 229. RAILROAD LOCOMOTIVE SAFETY STANDARDS

26. The plaintiff incorporates herein Paragraphs 1 through 25.

27. 49 C.F.R. Chapter ll (10-1-02 Edition and prior editions). FEDERAL
RAILROAD ADMINISTRATION, DOT. Part 229 RAILROAD LOCOMOT]VE SAFETY
STANDARDS prescribes minimum federal safety standards for all locomotives.

Section 229.7 Prohibited acts, states:

--(a) The Locomotive lnspection Act (45 U.S.C. 22-34) makes
it unlawful for any carrier to use of permit to he used on its line any
locomotive unless the entire locomotive and it appurtenances ~

(l) Are in proper condition and safe to operate in the service to

which they are put, without unnecessary peril to life or limb; and

(2) Have been inspected and tested as required by this part,"

 

Case 5:12-cV-O$55-.]LH Document 1 Filed 02/065 Page 19 of 21

Section 229.45 General condition, states:

--All systems and components on a locomotive shall be free of
conditions that endanger the safety of the crew. ..
These condition include: insecure attachment of components. .. that
create a personal injury hazard; improper functioning of components ..."

Section 229.119 Cabs, floors, and passageways, states:

"(a) Cab scats shall be securely mounted and braced."

28. At the time herein mentioned, the defendant failed to comply with the statutory
non-delegable requirements of 49 C.F.R. Chapter ll (10-1-02 Edition). FEDERAL RAILROAD
ADMlNlSTRATlON. DOT. §229 - RAILROAD LOCOMOTIVE SAFETY STANDARDS,
which caused or contributed to the plaintiff s injuries hereinabove enumerated

WHEREFORE, the plaintiff prays judgment against Defendant in an amount sufficient to
compensate him for his general damages, together with such special damages as may hereinafter
be ascertained, and for his costs of suit incurred herein, expert witness fees, and whatever other
relief this honorable Court deems just and proper.

FOURTH CLAIM FOR RELIEF
49 C.F.R. Chapter ll (10-1-2002 Edition)
FEDERAL RAILROAD ADMINISTRATION, DOT
Part 213, TRACK SAFETY STANDARDS
29. The plaintiff incorporates herein paragraphs 1 through 28.
30. 49 C.F.R. Chapter lI, FEDERAL RAILROAD ADMINISTRATION, DOT. Part

213 TRACK SAFETY STANDARDS, prescribes minimum federal safety requirements for

railroad track that is part of the general railroad system of transportation

Section 213.1 Scope of part, states:

 

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“(a) This part prescribes minimum safety requirements
for railroad track that is part of the general railroad system of
transportation The requirements prescribed in this part apply to
specific track conditions existing in isolation Therefore, a
combination of track conditions, none of which individually
amounts to a deviation from the requirements in this part, may
require remedial action to provide for safe operations over that
track.”

31. At all times herein mentioned, Defendant failed to comply with the statutory non-
delegable requirements of 49 C.F.R. Chapter ll (10-1-02 Edition), FEDERAL RAILROAD
ADMINISTRATION, DOT, §213 TRACK SAFETY STANDARDS, which caused or
contributed to Plaintiff s injuries hereinabove enumerated

WHEREFORE, Plaintiff prays judgment against the defendant in an amount sufficient to
compensate him for his general damages, together with such special damages as may hereinafter
be ascertained, and for his costs of suit incurred herein, expert witness fees, and whatever other
relief this honorable Court deems just and proper.

REOUEST FOR JURY TRIAL
PLAINTFF DEMANDS A JURY TRIAL ON ALL ISSUES RAISED HEREIN.

LAUCI§ LAW IRM P.A.

 

 

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